     Case 2:20-cv-02491-MWF-KS Document 29 Filed 08/20/20 Page 1 of 2 Page ID #:545




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8                         UNITED STATES DISTRICT COURT
9                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
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11    ORLANDO GARCIA, an individual,              Case No. 2:20-cv-2491-MWF-KS

12                       Plaintiff,               Before the Honorable Michael W.
13                                                Fitzgerald
            v.
14                                                DEFAULT JUDGMENT
15    MANCORA PERUVIAN CUISINE,
16    INC., a California Corporation; and
      DOES 1 through 10, inclusive,
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18                       Defendants.
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            The above-entitled matter came before the Honorable Michael W.
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      Fitzgerald, United States District Judge, presiding in Courtroom 5A of the above-
22
      entitled Court, pursuant to Plaintiff Orlando Garcia’s Motion for Default Judgment
23
      (the “Motion”). (Docket No. 25).
24
            Defendant Mancora Peruvian Cuisine, Inc. was regularly served with process,
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      but failed to retain counsel or otherwise defend this action. Default was entered
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      against Defendant on April 16, 2020. (Docket No. 14). Plaintiff has now requested
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      entry of default judgment against the defaulted Defendant. Having considered
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     Case 2:20-cv-02491-MWF-KS Document 29 Filed 08/20/20 Page 2 of 2 Page ID #:546




1     Plaintiff’s Motion and supporting papers, and good cause appearing under Rules 54,
2     55(b), 58, and 65(d) of the Federal Rules of Civil Procedure,
3           IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that
4     judgment in favor of Plaintiff be entered as follows:
5           1. Defendant shall be liable to Plaintiff for a total of $3,305.38, which is
6              inclusive of special damages in the amount of $2,775.38 in attorneys’
7              fees and $530 in costs.
8           2. Defendant is enjoined to provide wheelchair accessible dining surfaces
9              and a wheelchair accessible restroom at the Restaurant located at 283 S.
10             Atlantic Blvd., East Los Angeles, California, 90022, in compliance with
11             the Americans with Disabilities Act Accessibility Guidelines.
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14    Dated: August 20, 2020          ______________________________
                                           MICHAEL W. FITZGERALD
15                                         United States District Judge
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